       Case 2:21-cv-01536-AMM Document 90 Filed 01/03/22 Page 1 of 10                      FILED
                                                                                  2022 Jan-03 AM 09:46
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

MARCUS CASTER, LAKEISHA
CHESTNUT, BOBBY LEE DUBOSE,
BENJAMIN JONES, RODNEY ALLEN
LOVE, MANASSEH POWELL,                           Case No. 2:21-CV-1536-AMM
RONALD SMITH, and WENDELL
THOMAS,

                   Plaintiffs,

      v.

JOHN H. MERRILL, in his official
capacity as Alabama Secretary of State,

                   Defendant.



    PLAINTIFFS’ UNOPPOSED MOTION TO AMEND EXHIBIT LIST
      Plaintiffs respectfully submit this unopposed motion to amend their

preliminary injunction exhibit list, ECF No. 73, to add Alabama’s Voter Registration

Form. Plaintiffs attached Alabama’s Voter Registration Form as an exhibit to their

reply brief in support of their motion for preliminary injunction. ECF No. 84-1.

Because, however, their exhibit list was due to the Court before their reply brief was

filed, Plaintiffs did not have the opportunity to add the Voter Registration Form to

their initial exhibit list. Plaintiffs now seek to amend their exhibit list to add the

attached Voter Registration Form. Defendants do not oppose this motion.


                                          1
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      If the Court were to grant this motion, Plaintiffs’ exhibit list would consist of

the following exhibits:


  Exhibit
                                           Description
  Number

              Declaration of William S. Cooper (“Cooper Report”), dated
     1
              December 10, 2021

     2        Exhibit A to Cooper Report (Summary of Redistricting Work)

     3        Exhibit B to Cooper Report (Methodology and Sources)

     4        Exhibit C to Cooper Report (2020 Alabama Population by County)

              Exhibit D-1 to Cooper Report (2021 Enacted Congressional Plan –
     5
              Population Summary Report)

              Exhibit D-2 to Cooper Report (2021 Enacted Congressional Plan
     6
              Map)

              Exhibit D-3 (District 1) to Cooper Report (2021 Enacted
     7
              Congressional Plan – Map of District 1)

              Exhibit D-3 (District 2) to Cooper Report (2021 Enacted
     8
              Congressional Plan – Map of District 2)

              Exhibit D-3 (District 7) to Cooper Report (2021 Enacted
     9
              Congressional Plan – Map of District 7)

              Exhibit D-4 to Cooper Report (2021 Enacted Congressional Plan –
     10
              Political Subdivision Splits)

              Exhibit E-1 to Cooper Report (2011 Congressional Plan –
     11
              Population Summary)

     12       Exhibit E-2 to Cooper Report (2011 Congressional Plan Map)

     13       Exhibit E-3 to Cooper Report (2021 Congressional Plan Map)
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Exhibit
                                      Description
Number

          Exhibit E-4 to Cooper Report (2011 Congressional Plan – Political
  14
          Subdivision Splits)

  15      Exhibit F-1 to Cooper Report (2021 Board of Education Map)

          Exhibit F-2 to Cooper Report (2021 Board of Education –
  16
          Population Summary)

          Exhibit G-1 to Cooper Report (Illustrative Plan 1 – Population
  17
          Summary)

  18      Exhibit G-2 to Cooper Report (Illustrative Plan 1 – Map)

          Exhibit G-3 (District 2) to Cooper Report (Illustrative Plan 1 –
  19
          District 2)

          Exhibit G-3 (District 7) to Cooper Report (Illustrative Plan 1 –
  20
          District 7)

          Exhibit G-4 to Cooper Report (Illustrative Plan 1 – Political
  21
          Subdivision Splits)

          Exhibit H-1 to Cooper Report (Illustrative Plan 2 – Population
  22
          Summary)

  23      Exhibit H-2 to Cooper Report (Illustrative Plan 2 – Map)

          Exhibit H-3 (District 2) to Cooper Report (Illustrative Plan 2 –
  24
          District 2)

          Exhibit H-3 (District 7) to Cooper Report (Illustrative Plan 2 –
  25
          District 7)

          Exhibit H-4 to Cooper Report (Illustrative Plan 2 – Political
  26
          Subdivision Splits)

          Exhibit I-1 to Cooper Report (Illustrative Plan 3 – Population
  27
          Summary)
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Exhibit
                                       Description
Number

  28      Exhibit I-2 to Cooper Report (Illustrative Plan 3 – Map)

          Exhibit I-3 (District 2) to Cooper Report (Illustrative Plan 3 –
  29
          District 2)

          Exhibit I-3 (District 7) to Cooper Report (Illustrative Plan 3 –
  30
          District 7)

          Exhibit I-4 to Cooper Report (Illustrative Plan 3 – Political
  31
          Subdivision Splits)

          Exhibit J-1 to Cooper Report (Illustrative Plan 4 – Population
  32
          Summary)

  33      Exhibit J-2 to Cooper Report (Illustrative Plan 4 – Map)

          Exhibit J-3 (District 2) to Cooper Report (Illustrative Plan 4 –
  34
          District 2)

          Exhibit J-3 (District 7) to Cooper Report (Illustrative Plan 4 –
  35
          District 7)

          Exhibit J-4 to Cooper Report (Illustrative Plan 4 – Political
  36
          Subdivision Split)

          Exhibit K-1 to Cooper Report (Illustrative Plan 5 – Population
  37
          Summary)

  38      Exhibit K-2 to Cooper Report (Illustrative Plan 5 – Map)

          Exhibit K-3 (District 2) to Cooper Report (Illustrative Plan 5 –
  39
          District 2)

          Exhibit K-3 (District 7) to Cooper Report (Illustrative Plan 5 –
  40
          District 7)

          Exhibit K-4 to Cooper Report (Illustrative Plan 5 – Political
  41
          Subdivision Splits)
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Exhibit
                                       Description
Number

          Exhibit L-1 to Cooper Report (Illustrative Plan 6 – Population
  42
          Summary)

  43      Exhibit L-2 to Cooper Report (Illustrative Plan 6 – Map)

          Exhibit L-3 (District 2) to Cooper Report (Illustrative Plan 6 –
  44
          District 2)

          Exhibit L-3 (District 7) to Cooper Report (Illustrative Plan 6 –
  45
          District 7)

          Exhibit L-4 to Cooper Report (Illustrative Plan 6 – Political
  46
          Subdivision Splits)

          Exhibit M-1 to Cooper Report (Charts - 2019 American Community
  47      Survey 1-Year Estimates of Socio-Economic Data for Any Part
          African Americans and Non-Hispanic Whites in Alabama)

          Exhibit M-2 to Cooper Report (Tables - 2019 American Community
  48      Survey 1-Year Estimates of Socio-Economic Data for Any Part
          African Americans and Non-Hispanic Whites in Alabama)

          Exhibit N-1 to Cooper Report (Charts - 2019 American Community
  49      Survey 1-Year Estimates of Socio-Economic Data for Any Part
          African Americans and Non-Hispanic Whites in CD 1)

          Exhibit N-2 to Cooper Report (Tables - 2019 American Community
  50      Survey 1-Year Estimates of Socio-Economic Data for Any Part
          African Americans and Non-Hispanic Whites in CD 1)

          Exhibit O-1 to Cooper Report (Charts - 2019 American Community
  51      Survey 1-Year Estimates of Socio-Economic Data for Any Part
          African Americans and Non-Hispanic Whites in CD 2)

          Exhibit O-2 to Cooper Report (Tables - 2019 American Community
  52      Survey 1-Year Estimates of Socio-Economic Data for Any Part
          African Americans and Non-Hispanic Whites in CD 2)
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Exhibit
                                      Description
Number

          Exhibit P-1 to Cooper Report (Charts - 2019 American Community
  53      Survey 1-Year Estimates of Socio-Economic Data for Any Part
          African Americans and Non-Hispanic Whites in CD 3)

          Exhibit P-2 to Cooper Report (Tables - 2019 American Community
  54      Survey 1-Year Estimates of Socio-Economic Data for Any Part
          African Americans and Non-Hispanic Whites in CD 3)

          Exhibit Q-1 to Cooper Report (Charts - 2019 American Community
  55      Survey 1-Year Estimates of Socio-Economic Data for Any Part
          African Americans and Non-Hispanic Whites in CD 6)

          Exhibit Q-2 to Cooper Report (Tables - 2019 American Community
  56      Survey 1-Year Estimates of Socio-Economic Data for Any Part
          African Americans and Non-Hispanic Whites in CD 6)

          Exhibit R-1 to Cooper Report (Charts - 2019 American Community
  57      Survey 1-Year Estimates of Socio-Economic Data for Any Part
          African Americans and Non-Hispanic Whites in CD 7)

          Exhibit R-2 to Cooper Report (Tables - 2019 American Community
  58      Survey 1-Year Estimates of Socio-Economic Data for Any Part
          African Americans and Non-Hispanic Whites in CD 7)

          Rebuttal Report of William S. Cooper (“Second Cooper Report”),
  59
          dated December 20, 2021

          Exhibit A-1 to Second Cooper Report (Illustrative Plan 7 –
  60
          Population Summary)

  61      Exhibit A-2 to Second Cooper Report (Illustrative Plan 7 – Map)

          Exhibit A-3 to Second Cooper Report (Illustrative Plan 7 – District
  62
          2)

          Exhibit A-3 to Second Cooper Report (Illustrative Plan 7 – District
  63
          7)
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Exhibit
                                      Description
Number

          Exhibit A-4 to Second Cooper Report (Illustrative Plan 7 – Political
  64
          Subdivision Splits)

          Exhibit B-1 to Second Cooper Report (Compactness Report –
  65
          Illustrative Plan 1)

          Exhibit B-2 to Second Cooper Report (Compactness Report –
  66
          Illustrative Plan 2)

          Exhibit B-3 to Second Cooper Report (Compactness Report –
  67
          Illustrative Plan 3)

          Exhibit B-4 to Second Cooper Report (Compactness Report –
  68
          Illustrative Plan 4)

          Exhibit B-5 to Second Cooper Report (Compactness Report –
  69
          Illustrative Plan 5)

          Exhibit B-6 to Second Cooper Report (Compactness Report –
  70
          Illustrative Plan 6)

          Exhibit B-7 to Second Cooper Report (Compactness Report –
  71
          Illustrative Plan 7)

          Exhibit C-1 to Second Cooper Report (Compactness Report – 2021
  72
          Congressional Plan)

          Exhibit C-2 to Second Cooper Report (Compactness Report – 2021
  73
          Board of Education Plan)

          Exhibit C-3 to Second Cooper Report (Compactness Report – 2021
  74
          Senate Plan)

          Exhibit C-4 to Second Cooper Report (Compactness Report – 2021
  75
          House Plan)

          Exhibit D-1 to Second Cooper Report (Compactness Report – 2021
  76
          Enacted Texas Congressional Plan)
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Exhibit
                                      Description
Number

          Exhibit D-2 to Second Cooper Report (Compactness Report – 2021
  77
          Enacted Texas Senate Plan)

          Exhibit D-3 to Second Cooper Report (Compactness Report – 2021
  78
          Enacted Texas House Plan)

  79      Expert Report of Maxwell Palmer, Ph.D., dated December 10, 2021

  80      Declaration of Dr. Bridgett King, dated December 10, 2021

  81      Second Declaration of Dr. Bridgett King, dated December 20, 2021

          Redistricting guidelines adopted by the Alabama Legislative
  82
          Committee on Reapportionment on May 5, 2021

          Expert Report of Maxwell Palmer filed in Chestnut v. Merrill, No.
  83
          2:18-cv-907-KOB (N.D. Ala.), ECF No. 113-79

          Volume 1 of the trial transcript in Chestnut v. Merrill, No. 2:18-cv-
  84
          907-KOB (N.D. Ala.), ECF No. 103

          Volume 2 of the trial transcript in Chestnut v. Merrill, No. 2:18-cv-
  85
          907-KOB (N.D. Ala.), ECF No. 104

          Volume 3 of the trial transcript in Chestnut v. Merrill, No. 2:18-cv-
  86
          907-KOB (N.D. Ala.), ECF No. 105

  87      Volume 5 of the trial transcript in Chestnut v. Merrill, No. 2:18-cv-
          907-KOB (N.D. Ala.), ECF No. 107
  88      December 9, 2021 Deposition of Randy Hinaman

  89      December 17, 2021 Deposition of Chris Pringle

  90      December 17, 2021 Deposition of Jim McClendon

          Carol Robinson, Black Protestor Attacked at Donald Trump Rally
  91      Called ‘Monkey’ and Other Racial Slurs, He Says, AL.com (Nov.
          21, 2015)
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Exhibit
                                    Description
Number

  92      Alabama Lawmaker Who Honored Klan Leader Says He’s
          Surprised by Criticism, WSFA (July 27, 2020)
          Nick Patterson, Coronavirus Rates in Alabama Hit Black the
  93      Hardest — and Experts Are Not Surprised, BirminghamWatch (Apr.
          20, 2020)
  94      COVID Tracking Project, Alabama: All Race & Ethnicity Data

          Safiya Charles, Alabama Data Shows Majority of Coronavirus
  95      Deaths are African American, Montgomery Advertiser (Apr. 9,
          2020)
          Shapiro & Farah Eltohamy, Alabama Official on Vaccine Rollout:
  96      ‘How Can This Disparity Exist in This Country?’, NPR (Mar. 11,
          2021)
          Sean McMinn et al., Across the South, COVID-19 Vaccine Sites
  97      Missing from Black and Hispanic Neighborhoods, NPR (Feb. 5,
          2021)
  98      Brian Lyman, Racial Profiling Bill Dies on Final Day of Alabama
          Legislative Session, Montgomery Advertiser (Mar. 29, 2018)
  99      Azavea, Redrawing the Map on Redistricting: 2012 Addendum

  100     Video: Alabama Supreme Court Justice Tom Parker 2018 Campaign
          Ad – “Invasion”
  101     Video: Alabama Supreme Court Justice Tom Parker 2018 Campaign
          Ad – “Mob Rule”
  102     Video: LA Times Releases Audio of Roy Moore’s Offhand
          Comment on Slavery
  103     Video: Roy Moore: “New Rights in 1965, and Today We’ve Got a
          Problem”
  104     Alabama Voter Registration Form
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Dated: January 3, 2022             Respectfully submitted,

                                   By /s/ Abha Khanna

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